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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MINNESOTA

 CENTER FOR BIOLOGICAL
 DIVERSITY,

                  Plaintiff,

           v.

 SARAH STROMMEN, in her official
 capacity as Commissioner of the Minnesota              CASE NO. 20-2554-ECT-JFD
 Department of Natural Resources,                     DECLARATION OF PETER J.
                                                     FARRELL IN SUPPORT OF THE
                  Defendant,                           DNR’S RESPONSE TO THE
                                                    TRAPPERS’ OBJECTION TO THE
 and                                                     CONSENT DECREE

 MINNESOTA TRAPPERS
 ASSOCIATION, NATIONAL TRAPPERS
 ASSOCIATION, AND FUR TAKERS OF
 AMERICA, INC.

                 Defendant-Intervenors.

           I, Peter J. Farrell, hereby declare as follows pursuant to 28 U.S.C. § 1746:

       1.       I am an Assistant Attorney General in the Environmental & Natural

Resources division of the Office of the Minnesota Attorney General. I represent Defendant

Sarah Strommen, in her official capacity as Commissioner of the Minnesota Department

of Natural Resources, in this case.

       2.       Attached are true and correct copies of the following documents:

   Exhibit           Date                              Description
     1            04/30/2008 Proposal of the DNR to Restrict, Modify, or Eliminate the
                             Incidental Take of Canada Lynx, Civil No. 06-3776 (MJD/RLE),
                             ECF 145
       2          05/30/2008 The DNR’s Reply Memorandum in Support of its Proposal to
                             Restrict, Modify, or Eliminate the Incidental Take of Canada
                             Lynx, Civil No. 06-3776 (MJD/RLE), ECF 152
                                                1
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     3        07/14/2008 Order Requiring the DNR to Implement Proposal as Modified,
                         Civil No. 06-3776 (MJD/RLE), ECF 163
     4        10/21/2008 The DNR’s Supplemental Memorandum in Support of its
                         Proposal to Restrict, Modify, or Eliminate the Incidental Take of
                         Canada Lynx, Civil No. 06-3776 (MJD/RLE), ECF 170
     5        10/21/2008 Fourth Declaration of Michael DonCarlos in Support of
                         Minnesota Department of Natural Resources’ Proposal to
                         Restrict, Modify, or Eliminate the Incidental Take of Canada
                         Lynx, No. 06-3776 (MJD/RLE), ECF 171
     6        08/25/2008 Minnesota State Register, 33 SR 374 (Aug. 25, 2008) Adopting
                         Expedited Emergency Game and Fish Rules re: Canada Lynx
                         Management Zone
     7        03/01/2021 Minnesota State Register, 45 SR 35 (Mar. 1, 2021) Adopting
                         Expedited Emergency Game and Fish Rules re: Canada Lynx
                         Management Zone

      I declare under penalty of perjury that the foregoing is true and correct.

Dated: July 1, 2022
                                           /s/ Pete Farrell
                                           PETER J. FARRELL




                                            2
